              Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 1 of 9




 I
 2

 3

 4
 5

 6

 7                       UNITED STATES DISTRICT COT]RT FOR THE
                           WESTERN DISTRICT OF WASHINGTON
 8
                                     AT SEATTLE
 9

l0
      UNITED STATES OF AMERICA,                           NO. CR20-079-JCC
ll                                Plaintiff.
                                                          INFORMATION
t2
13

t4
      JODI HAMRICK.
l5
                                  Defendant.
16

t7         The United States Attomey charges that:

l8                                             COTJNTS 1-4

19                                             (Wire Fraud)
20   A.    The Scheme To Defraud
2t          1.      Beginning at a time unknown, but no later than November 201 1, and

22   continuhg until on or about Jwe 29,2016, at Mukilteo, within the Westem District                  of
23   Washington, and elsewhere, JODI HAMRICK and "D.G." devised and intended to devise

24   a scheme and   artifice to defraud various victims, including but not limited to, "W.F.," and
25   financial institutions and lenders, and to obtain money and property by means          of
26   materially false and fraudulent pretenses, representations and promises.
27          2.      D.G. and W.F. were partners in "Gluth Contract Flooring," or "GCF,"                 a

28   commercial flooring business based in Mukilteo, Washington. JODI HAMRICK was the
                                                                             UNITED STATES ATTORNEY
                                                                            7OO STE:WART STIE.ET,   SIME 5220
                                                                             sFrrrLE, w^srflNcroN     98101
      Information^lAMRlCK -   I                                                      (206)551-7970
                Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 2 of 9




 I   bookkeeper for GCF. The essence of the scheme and artifice to defraud was for JODI
 2   IIAMRICK      and D.G. to improperly use GCF funds for their own personal benefit, to

 3   fraudulently obtain loans and credit for CCF without the knowledge or authorization                of
 4   W.F., and to fraudulently alienate assets of GCF without the knowledge or authorization
 5   of W.F. JODI IIAMRICK and D.G. engaged in numerous acts of deceit and
 6   concealment, including but not limited to: (a) making false and misleading statements
 7   and omissions to W.F. and others; (b) refusing to tum over business records that W.F.
 8   was entitled to review; (c) maintaining false and misleading business records; (d) making
 9   false and misleading statements and omissions in court filings and deposition testimony;
10   and (e) using fraud, forgery, identity theft, and false statements to open bank accounts,
l1   obtain loans and credit, and alienate assets without the knowledge or authorization            of
t2 W.F. Over the course of the scheme, the total amount of improper personal expenditures,
t3   assets that were   improperly disposed of, and unauthorized indebtedness incurred by GCF,
t4 was approximately one million dollars or greater.
l5   B.     Manner and Means
l6          3.      D.G. and W.F. formed GCF by an operating agreement (the "Agreement,,)
17   on or about May I0, 2007. The Agreement provided that D.G. and W.F. would be equal
l8   partners, and that D.G. would run the day-to-day affairs of GCF. The Agreement
l9   provided that W.F. would personally guarantee up to $500,000 in credit that would
20   provide capital for the business.
21          4.      The Agreement prohibited D.G. from taking certain actions without W.F.'s
22   written approval, including but not limited to, opening bank accounts for the company's
23   use (other than accounts specified in the Agreement) and borrowing money (apart from

24   specified borrowing authorized by the Agreement). The Agreement also prohibited D.G.
25   from engaging in significant business decisions, including disposing ofproperty outside
26   the ordinary course of business, without consulting with   w.F.   The Agreement also gave
27   W.F. the right to inspect the books and records of the company.
28          5.      In or about 2011,, JODI HAMzuCK was hired as the bookkeeper for GCF.
                                                                            UNITED STATES ATTORNEY
                                                                            700 SrErxaRr SrRrEr. SurrE 5220
      Information/IIAMRICK - 2                                                SE^TTLE WASHINGToN 98I O I
                                                                                    (206)553-7970
               Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 3 of 9




 I          6.      It was part of the scheme and artifice to defraud that JODI HAMRICK and
2    D.G. opened bank accounts in the name of GCF without W.F.'s knowledge or
3    authorization. Per the Agreement, GCF maintained          a   bank account at Foundation Bank.
4    The Agreement required W.F.'s authorization in order to open any additional bank
 5   accounts. JODI HAMRICK and D.G. opened bank accounts without W.F.'s knowledge
 6   or authorization, including but not limited to the following (collectively, the "secret
 7   accounts"):
 8                  a.     on or about September 11,2012, at Wells Fargo Bank;
 9                  b.     on or about December 27,2013, at Bank ofAmerica; and
10                  c.     on or about February 7 , 2014, at Whidbey Island Bank, also known
11                         as     Heritage Bank.
t2          7.      It was further part of the scheme and artifice to defiaud that JODI
l3 HAMRICK         and D.G. used the secret accounts to further the scheme in a variety of ways.

l4 Among other things, JODI HAMRICK                and D.G. diverted GCF funds to the secret
l5 accounts and used those funds to pay improper personal expenses. JODI TIAMRICK and
l6 D.G. also     used the secret accounts to receive funds from unauthorized loans, to make

t7 payments on unauthorized loans, and to transfer and conceal GCF funds. JODI
18   HAMRICK and D.G. attempted to conceal the secret accounts from W.F. and others. By
19   using the secret accounts for such activities, JODI FIAMzuCK and D.G. were able to
20   conceal their scheme from W.F. and others, and to thwart any meaningful inspection                     of
2t   GCF's books and records. JODI HAMRICK and D.G. discussed the improper use and
22   concealment ofthe secret accounts in instant messages. For example, on or about
23   October 28, 2013, in an instant message, D.G. asked JODI HAMRICK if Foundation
24   Bank might "discover" the existence of the Wells Fargo accounts. Similarly, on February
25   11,2014, in an instant message, JODI HAMRICK told D.G. that activity related to an
26   unauthorized loan would be concealed in "an already functioning wash account."
27          8.      It was further part of the scheme and artifice to defraud that JODI
28   HAMRICK and D.G. used GCF funds for unauthorized personal expenses. JODI
                                                                                 TJMTED STATES ATTORNEY
                                                                                 700 STEW^RT SrP.EEr. SurrE 5220
                                                                                   SE^]-n-E w^srfi,rcroN 98101
      lnformation/HAMRICK -   3
                                                                                         1206\ 553-7970
                    Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 4 of 9




 I   HAMRICK and D.G. used GCF funds from                 a   variety of sources, including but not
 2   limited to: GCF's American Express credit cards, GCF's Applied Bank credit card,
 3   GCF's Foundation Bank account, and GCF's Wells Fargo account. These unauthorized
 4   personal expenses included, but were not limited to: groceries, personal credit card bills,
 5   clothing, liquor, medical expenses, massages, travel expenses, personal taxes, and
 6   mortgage payments. The unauthorized personal expenses began no later than 201 1,
 7   continued until October 2015 or later, and totaled several hundred thousand dollars.
 8             9.         It was fuither part of the scheme and artifice to defraud that JODI
 9   HAMRICK and D.G. concealed the unauthorized personal expenses from W.F. and
10   others in a variety of ways, including but not limited to the following: using the secret
11   bank accounts to pay for unauthorized personal expenses, and making false and
l2 misleading           entries in the books and records of GCF. JODI HAMRICK and D.G. also
l3 concealed, and attempted to conceal, GCF's true financial condition from W.F. and
t4 others (including representatives of W.F.) who attempted to examine GCF's books and
15   records to determine its condition.
t6             10.        It was further part of the scheme and artifice to defraud that JODI
t7 IIAMRICK             and D.G. discussed with each other how to conceal the unauthorized personal

l8   expenses from W.F. and others. For example, in an instant message on or about February

t9   ll.,2014       - after a discussion   of how to conceal an unauthorized loan    -   D.G. told JODI
20   HAMRICK that'Ihe next worry is [W.F.] digging into my Hawaii trip and where/trow
21   I'm paying for it." In an instant message exchange on or about January 31, 2014, during
22   a discussion of       how to convey GCF funds to D.G. for personal use, JODI HAMRICK
23   stated,   "if I give   you 2500 out of GCF it    will look like your salary."
24             I   l.    It was further part of the scheme and artifice to defraud that JODI
25   HAMRICK and D.G. obtained (and attempted to obtain) loans and credit in the name of
26   GCF, and disposed of GCF assets, without W.F.'s knowledge or authorization. JODI
27   HAMRICK and D.G. made false and misleading statements and omissions in the course
28   of these improper and fraudulent transactions. JODI HAMRICK and D.G. took these
                                                                                     T]NTTED STATES ATTORNEY
                                                                                     ?00 STE1   STREsr, SUIIE 5220
      lnformation/HAMRICK - 4                                                         SEArrLq^Rr
                                                                                               W^srix6roN 9El0l
                                                                                            (2061s53-7970
               Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 5 of 9




 I   actions to conceal GCF's true financial condition from W.F. and others, and also to pay
 2   for unauthorized personal expenses. The unauthorized transactions included, but were
 3   not limited to: three loans from Main Street Business Loans ("MSBL"); a loan from
 4   Quarterspot; a loan from an individual. "L.M.;" and a sale of GCF receivables to BizFi
 5   Funding, a/k/a Quick Capital Funding, a./k/a Merchant Cash & Capitat LLC               ('BizFf).
 6          12.    It was further part of the scheme and artifice to defraud that, on or about
 7   July 18, 2013, JODI HAMRICK and D.G. submitted an application for a shorr-term,
 8   high-interest loan from MSBL. D.G. signed the application and verified that he had legal
 9   authority to enter into the transaction on GCF's behalf. In truth and fact, as JODI
l0 HAMRICK        and D.G. knew, D.G. did not have authority to enter into the transaction, as
11   W.F. had no knowledge of the transaction and had not authorized      it.   JODI HAMRICK
12   and D.G. submitted a forged and altered Internal Revenue Service K-1 tax form as part                          of
l3 the application. The altered K-1 form showed that D.G. was a 51oZ owner of GCF, when
t4 - as JODI HAMRICK and D.G. knew D.G. and W.F. each owned 50%. JODI
15   IIAMRICK     and D.G. submitted the altered   K-l   to mislead MSBL into believing that
16   D.G. had unilateral authority to enter into the transaction on GCF's behalf.
t7          13.    It was further part of the scheme and artifice to defraud that the initial
18   MSBL loan was funded on or about July 25,2013, in the amount of approximately
l9 $120,955. JODI I{AMRICK         and D.G. obtained subsequent loans from MSBL in 2014
20   and 2015 based upon additional fraudulent loan applications.
21          14.    It was further part of the scheme and artifice to defraud that that JODI
22   ITAMRICK and D.G. concealed the existence of the MSBL loans from w.F. and others.
23   In an instant message exchange on or about August 13, 2013, JODI HAMRICK told D.G.
24   that she would put "it in income so [w.F.] will not see it, only the two of us will know                      it
25   is there." In an instant message exchange on or about February 10, 2014
                                                                                      - during a
26   discussion about applying for a second MSBL loan           D.G. told JODI HAMRICK,                 ,.1,m
                                                            -
27   doing it without [W.F.'s] knowledge, if anything goes wrong it won,t be good.,, In an
28
                                                                                UNITED STATES ATTORNF,Y
                                                                                700 STEWART STruEr. S(mE 5220
     Information/HAMRICK -   5                                                   SEArrLq W^sHrNGroN     98   l0l
                                                                                       1206) ss3 7970
               Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 6 of 9




 1   instant message exchange on or about March27,20l4,D.G. told JODI HAMRICK,                            "I
 2   can't let [W.F.] know this loan exists."
 3          15.      It was further part ofthe scheme and artifice to defraud that, on or about
 4   July 17,2015, D.G. entered into     a    written agreement with L.M. that was titled "Personal
 5   Loan Agreement." The Personal Loan Agreement provided that L.M. would loan
 6   $150,000 to D.G., who was identified as the "Borrower." The Personal Loan Agreement
 7   provided that the Borrower    -   D.G.   -   was responsible for repaying the loan on a set
 8   schedule. On or about February 1,2016, D.G. sent an e-mail to JODI rIAMRICK. In the
 9   email, D.G. asked JODI HAMRICK to fraudulently alter the Personal Loan Agreement
l0 by identiffing GCF,      rather than D.G., as the Borrower. D.G. stated: "Otherwise              I could
11   be stuck with   this." An altered Personal Loan Agreement was prepared that identified
12   GCF as the Borrower in the text (although D.G. was still listed as the Borrower in the
13   signature block). As JODI HAMRICK and D.G. knew, W.F. had no knowledge of, and
14   did not authorize, either the initial Personal Loan Agreement or the alteration that
15   purported to make GCF responsible for the debt.
16          16.      It was further part of the scheme and artifice to defraud that, in or about
17   December 2015, JODI HAMRICK and D.G. arranged for the sale of approximately
18   $143,000 of GCF assets, in the form of receivables, to BizFi. BizFi paid GCF
t9 approximately $100,000 for the assets. In connection with this sale, D.G. signed                  a

20   Merchant Agreement with BizFi in which D.G. falsely certified that he had authority to
21   enter into the transaction. As JODI HAMRICK and D.G. knew, W.F. had no knowledge
22   of this transaction and did not authorize it.
23          17.      It was further part of the scheme and artifice to defraud that, in or about
24   October of 2015, JODI HAMRICK and D.G. arranged for GCF to borrow money from
25   Quarterspot. As JODI HAMRICK and D.G. knew, W.F. had no knowledge of this
26   transaction and did not authorize    it.     On or about October 28,2015, JODI IIAMRICK and
27   D.G. submiued a false and fraudulent "Borrower Agreement" to Quarterspot, which
28   included forged signatures for W.F. JODI HAMRICK and D.G. also submitted a forged
                                                                                  T,INITED STATES ATTORNEY
                                                                                  7m STE]!.^RT STREsr, Sum 5220
      tnformation/HAMRICK - 6                                                      SE rrLE, wAsHNdroN 98 | 0l
                                                                                          (206)553-79?0
                  Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 7 of 9




 I driver's license in the name of W.F. The forged driver's license       showed a photograph             of
 2   "J.O.", a GCF employee.
 3          18.      It was further part ofthe scheme and artifice to defraud that, on or about
 4   October 28, 2015, JODI HAMRICK and D.G. discussed the fraudulent Quarterspot loan
 5   application and the forged driver's license over instant messaging. The exchange was
 6   triggered by J.O.'s objection to the use of the forged driver's license. J.O. messaged
 7   JODI IIAMRICK and asked her "to not use my ID for anlthing, and never ask me to do
 8   that again." JODI HAMRICK responded, "ok         -   and ok, sorry." D.G. then instructed
 9   JODI HAMRICK to "tell [J.O.j you canceled the deal." JODI HAMRICK responded
l0 "ok." D.G. then told JODI IIAMRICK, "you don't need to cancel           the deal," and        "it
n    would be nice not ro have [W.F.] involved." D.G. later told JODI HAMRICK, "I rold
12   him [W.F.] it was canceled though, that's our story." On or about October 28,2015,
l3 JODI HAMRICK          and D.G. submitted fraudulent loan documents     with W.F.'s forged
l4   signature.
l5          19.      It was further part of the scheme and artifice to defraud that JODI
16   HAMRICK and D.G. made false and misleading statements and omissions in connection
t7 with a legal action instituted by W.F. in King County Superior Court. W.F. filed the
l8 action on or about December 21,2015, alleged that D.G. had improperly used GCF funds
19   for personal purposes and had mismanaged GCF. The false and misleading statements by
20   JODI HAMRICK and D.G. included, but were not limited to: a January 16,2015,
2t declaration by D.G. in which      he falsely stated that he did not authorize the submission           of
22   falsified documents to QuarterSpot; a May 19,2016, declaration by JODI HAMRICK in
23   which she falsely stated that she had not concealed transactions in GCF's records; and               a

24   March 23, 2016, deposition given by JODI HAMRICK in which she denied knowledge
25   of the forgery and fraud associated with the Quarterspot loan.
26   C.     Execution Of The Scheme To Defraud
27          20.      On or about the dates set forth below, at Mukilteo, within the Western
28   District of washington, and elsewhere, having devised the above-described scheme and
                                                                              IJMTED STAIES ATTORNEY
                                                                             ?OOSTErIART STREET, SUrrE 5220
      Information/HAMRICK -   7                                               SE TTLE wasfio{croN 98101
                                                                                     (206} s53-797O
                  Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 8 of 9




 I   artifice, JODI HAMRICK and D.G., for the purpose of executing this scheme and
 2   artifice, did knowingly cause to be transmitted by wire communication in interstate and
 3   foreign commerce writings, signs, signals, pictures, and sounds, each transmission                              of
 4   which constitutes a separate Count of this Information.
 5    Count   I
                      Date                   Sender                  Recipient                      Wire
 6                                                                                          Transmission
                                                               I


 7    1                               Safervay (Everett)           American          $90.68 credit card
 8
                                                                   Express           transaction
                                                                   (Phoenix,
 9            l''"'"
                /t2trs
                                                                   Arizona)
l0    2           7                   Safeway (Everett)            American          5334.82 credit card
                                                                   Express           ftansaction
ll                                                                 (Phoenix,
t2                            I                                    Arizona)
                  7l16t15             ..T.M.,"LMP                  American
      3                                                                              $210.00 credit card
l3                                    (Mukilteo)                   Express           transaction
t4                                                                 (Phoenix,
                                                                   Arizona)
l5    4           7l16trs             Back Porch Wine      &       American          $65.56 credit card
                                                               I


t6                                    Spirit (Everett)             Express           transaction
                                                                   (Phoenix,
t7                                                                 Arizona)
l8
l9          All in violation of Title         18. United States Code. Sections 1343 and2.

20
21                                     ASSET FORFEITURE ALLEGATION

22          21.       The allegations contained in Counts 1.2,3, and 4 ofthis Information are

23   hereby realleged and incorporated by reference for the purpose of alleging forfeiture.

24   Upon conviction ofany ofthe offenses alleged in Counts                    l, 2,3,   and 4, the Defendant

25   JODI HAMRICK shall forfeit to the United States, pursuant to Title 18, United States

26   Cbde, Section 981(a)(lXC), by way              ofTitle 28, United     States Code, Section 2461(c), all

27   properry constituting or traceable to proceeds of the offense, including but not limited to

28   a sum of money reflecting the proceeds she obtained from the offense.

                                                                                            UNITED STATES ATTORNEY
                                                                                            700 SIE1tr^RT STREET, SU|TE 5220
      Information/HAMRICK -       8                                                           SEArn!    WASHnrGmN 98 t0 I
                                                                                                    (2M) 553-t9't0
               Case 2:20-cr-00079-JCC Document 3 Filed 07/07/20 Page 9 of 9




 I          Substitute Assets. Ifany ofthe above-described forfeitable property, as a result                       of
 2   any act or omission of the Defendant,
 3          l.     cannot be located upon the exercise ofdue diligence;
 4          2.     has been transferred   or sold to, or deposited with   a   third party;
 5          3.     has been placed beyond the jurisdiction    ofthe Court;
 6          4.     has been substantially diminished in value; or,

 7          5.     has been commingled with other property which cannot be divided without

 8                 difficulty;
 9   it is the intent of the United States to seek the forfeiture ofany other property of the
l0   Defendant up to the value ofthe above-described forfeitable property pursuant to Title
ll   21, United States Code, Section 853(p).
12

l3          DATED this _
                       7th day of July, 2020.
t4
l5
t6
                                                        BRI
                                                  #
                                                                  . MORAN
t7
                                                        United States Attomey
l8
t9
20
                                                            u,--
                                                        ANDREW C. FRIEDMAN
                                                        Assistant United States Attomey
2t
22
                                                            Cl"- C- t\---
23                                                      MICTIAEL DION
                                                        Assistant United States Attomey
                                                                                                               t^
24
25

26
27

28
                                                                                  TINITED STATES ATTORNEY
                                                                                  700 S1IWART STREET, Sua:E 5220
     lnformation/HAMRICK - 9                                                        SEATTLE, WasrtrNcIoN 9810 I
                                                                                          (206)553-7970
